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             IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                     NO. 4:08CR00130-005 SWW

FREDDY EDUARDO TRUJILLO-BUSTAMANTE




                           ORDER OF DISMISSAL


      Pursuant to the government's motion for dismissal of the

indictment against the above defendant pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure,

      IT IS ORDERED that the government’s motion [doc #82] be, and it

hereby is granted, and the indictment pending against defendant Freddy

Trujillo-Bustamante in the above case hereby is dismissed without

prejudice.

      IT IS FURTHER ORDERED that the defendant is to be returned to the

custody of Immigration and Customs Enforcement (ICE) for resolution of

his immigration matter.

      DATED this 16th day of October 2008.



                                        /s/Susan Webber Wright

                                        UNITED STATES DISTRICT JUDGE
